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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                            )
SHARIF MOBLEY, et al.,                      )
                                            )
                Plaintiffs,                 )
                                            )
         v.                                 )      Civil Action No. 11-2074 (BAH)
                                            )
DEPARTMENT OF HOMELAND                      )
SECURITY,                                   )
                                            )
                Defendant.                  )
                                            )

                               [PROPOSED] ORDER

         Upon consideration of Defendant’s Motion for Summary Judgment, Plaintiffs’

opposition thereto, and Defendant’s reply, it is hereby ORDERED that:

         Defendant Department of Homeland Security’s Motion for Summary Judgment is

GRANTED.

         This case is DISMISSED WITH PREJUDICE.

         IT IS SO ORDERED.



Dated:___________________                                 ________________________
                                                          BERYL A. HOWELL
                                                          United States District Judge




	  
